          Case 2:12-cv-04556-CMR Document 3-14 Filed 08/15/12 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

Filed By:
ADRIAN LUPU
1332 Airport Rd.
Coatesville, PA 19320

ADRIAN LUPU, Sui Juris
  Plaintiff                                                                        Plaintiff
v
LOANCITY, ET AL
                                                               CIVIL ACTION - Quiet Title
  Defendants
                                                              Case No. S:12-CV-04556-CMR

                                              ORDER



  AND NOW, this _______ day of ________ 2012, this Court having considered Plaintiff’s
Complaint against Defendants LOAN CITY, LLC., and the response of the DEFENDANTS,
it is hereby ORDERED:

  DEFENDANT LOAN CITY, assigns and successors, are forever barred from asserting any
right, lien, title or interest in the land inconsistent with the interest or claim of the plaintiff set
forth in the complaint.

  DEFENDANT ONE WEST BANK is to return to PLAINTIFF all payments made by him or
on behalf of him to others.

  DEFENDANT ONE WEST BANK is to pay PLAINTIFF $4,000 statutory damages under
15 U.S.C. 1640 a (2)(A)(iv).

  The Recorder of Deeds, Chester County is ordered to cancel of record the mortgage
recorded in Book number 7006 on Page 1718 as Document number 10703983 to reflect the
above.




                                                                                                    J.
